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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA

Plaintiff,

Criminal No.CZfL;;;§§{;O ZMl

(30~Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant{s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at §¢QQ
a.m. on Fridav, Mav 27. 2005, with trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy
Trial Act through June 17, 2005. Agreed in open court at report

date this 22nd day of April, 2005.

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. .q me 55 arm/oraz(b) FHCrP on LF_“¢>?//"US:V _

 

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SO ORDERED this 22nd day of April, 2005.

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JON HIPPS MCCALLA
W%W UNI ED STA'I`ES DIS'I`RICT JUDGE
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Assistant United States Attorney

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Counsel for Defendant(s)

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CR-20507 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

